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 1
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      ATTORN EY AT LAW
 2    2014 T U LARE S TREET , S U ITE 414
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 4
      Attorney for Defendant, MELISSA ANN LOPEZ
 5

 6
                                            UNITED STATES DISTRICT COURT
 7
                                            EASTERN DISTRICT OF CALIFORNIA
 8

 9                                                     *****

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                                                        )
     UNITED STATES OF AMERICA,                          ) CASE NO. 1-09-CR-00053 AWI
11                                                      )
              Plaintiff,                                ) STIPULATION AND ORDER TO
12                                                      ) CONTINUE SENTENCING HEARING
     vs.                                                )
                                                        )
13                                                        DATE: AUGUST 3, 2009
     MELISSA ANN LOPEZ,                                 )
                                                        ) TIME: 9:00 am
14                                                      ) JUDGE: Hon. ANTHONY W. ISHII
              Defendant.
                                                        )
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              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18
     counsel RICHARD A. BESHWATE, JR, attorney for Defendant, and MARK CULLERS,
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     Assistant U.S. Attorney for Plaintiff, that the sentencing hearing currently scheduled for August 3, 2009,
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     at 9:00 a.m. shall be continued until SEPTEMBER 8, 2009, at 9:00 a.m.
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     ///
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 1                  This continuance is necessary due to a death in Ms. Lopez’ family and so that both parties

 2   have sufficient time to continue negotiations on matters relevant to the sentencing and for both parties

 3   to have additional time to prepare for the hearing.

 4   DATED: July 30, 2009
                                                   Respectfully submitted,
 5
                                                   /S/ Richard A. Beshwate, Jr.____________
 6                                                 RICHARD A. BESHWATE, JR.
                                                   Attorney for Defendant, MELISSA ANN LOPEZ
 7

 8

 9   DATED: July 30, 2009

10                                                 Respectfully submitted,

11                                                 /S/ Mark Cullers
                                                   MARK CULLERS
12                                                 Assistant U.S. Attorney

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14
                                                    ORDER
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          IT IS HEREBY ORDERED THAT the date set for sentencing hearing be continued to
16   SEPTEMBER 8, 2009, at 9:00 a.m.

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18   IT IS SO ORDERED.

19   Dated:     July 30, 2009                           /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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